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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NOTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

CYNTHIA ALLUMS                       )
                                     )
          PLAINTIFF,                 )
                                     )
v.                                   )      CIVIL ACTION NO.
                                     )      2:13-CV-01492-KOB
                                     )
AMSHER COLLECTON                     )
COLLECTION SERVICES, INC             )
                                     )
          DEFENDANT,                 )

            PLAINTIFF’S NOTICE OF DISMISSAL OF COMPLAINT

      Plaintiff, Cynthia Allums, pursuant to Rule 41(a)(1)(i) of the Federal Rules

of Civil Procedure, hereby dismisses all causes of action in the complaint against

defendant, Amsher Collection Services, Inc., without prejudice.

      Defendant has not filed either an answer to the complaint or a motion for

summary judgment as to these claims.        Dismissal under Rule 41(a)(1)(i) is

therefore appropriate.

Dated: August 21,
               O 2013                     /s/ S. Scott Allums
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